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       Case 1:20-cv-06516-VM
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Mondaire Jones, Alessandra Biaggi, Chris
Burdick, Stephanie Keegan, Seth Rosen,
Shannon Spencer, Kathy Rothschild, Diana
M. Woody, Perry Sainati, Robert Golub,
Mary Winton Green, Marsie Wallach,
Matthew Wallach, Mac Wallach, Carol
Sussman, and Rebecca Rieckhoff,
individually, and on behalf of all others
similarly situated,

       Plaintiffs,                               No 20 Civ. 6516 (VM)

v.

United States Postal Service, Louis DeJoy,
as Postmaster General of the United States
Postal Service, and Donald J. Trump, as
President of the United States,

       Defendants.


              SUPPLEMENTAL DECLARATION OF ROBERT CINTRON




                                             1
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       I, Robert Cintron, under penalty of perjury and in lieu of affidavit as permitted by 28

U.S.C. § 1746, state as follows:

   1. On September 8, 2020, I submitted a declaration in opposition to plaintiffs’ motion for a

       preliminary injunction in the above-captioned matter. I am submitting this supplemental

       declaration to clarify footnote 1 of that declaration. I submit this supplemental

       declaration based on information available to me in the course of my duties at USPS,

       including information provided to me by other United States Postal Service (“USPS”)

       officials with whom I work.

   2. The July 10, 2020 Stand-Up Talk (“SUT”) discussed in footnote 1 of my declaration

       was prepared by the then-Area Vice President (“AVP”) for what was then the Southern

       Area and his team. At that time, the then-Southern AVP did not work at USPS

       Headquarters, and Headquarters did not review the July 10, 2020 SUT after it was

       drafted by the then-Southern AVP’s team, who worked at the Area level. The July 10,

       2020 SUT was distributed throughout what was then the Southern Area.

   3. The contents of the July 10, 2020 SUT draws from a July 10, 2020 teleconference,

       conducted with AVPs and members of Headquarters. During that teleconference,

       members of Headquarters made statements reflected, in part, in the July 10, 2020 SUT.

   4. Starting on July 11, 2020, in light of some confusion in the field about the scope of

       USPS policy, members of Headquarters began to issue clarifications of USPS policy,

       including with AVPs, making clear that certain statements in the July 10, 2020 SUT

       were not accurate statements of USPS policy. On July 14, 2020, I provided final

       guidelines (attached as Exhibit 2 to my September 8, 2020 declaration) explaining when

       extra trips could be taken, clarifying that extra trips remained authorized under certain



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     circumstances. Late and extra trips are not and were not banned, rather they continued

     (albeit at a reduced level) both in July and today.

  I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge and belief.



     Executed at Washington, DC on this 15 day of September, 2020.



                             _____________________________________
                             Robert Cintron




                                               3
